Case:19-05002-MJK Doc#:7-1 Filed:05/07/19

Personal Financial Statement of:

Paul Sharma
as of:
4/1/2018

Assets

Cash - checking accounts

Cash - savings accounts
Certificates of deposit
Securities - stocks / bonds /
mutual funds

Notes & contracts receivable
Life insurance {cash surrender
value)

Personal property (autos, jewelry,

etc.)

Retirement Funds (eg. IRAS, 401k)

Real estate (market value)
Other assets (specify)

Other assets (specify)

Total Assets

Liabilities
Current Debt (Credit cards,
Accounts)

Notes payable (describe below)
Taxes payable

Real estate mortgages

Other tiabilities (Hotel Lease
monthly)

Other liabilities (specify)

Total Liabilities

Net Worth

Signature:

Amount in Dollars

5 549
886

15,000

$ 16,435

Amount in Dollars.

$ 21,100
6,005

s 27,105

$ (10,670)

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Date:

Entered:05/07/19 11:56:00 Page:1 of 3
Case:19-05002-MJK Doc#:7-1 Filed:05/07/19

Personal Finance Statement of:
Paul Sharma

Details

1. ASSETS - Details
Notes and Contracts held

Whom Balance Amount

Securities: stocks /bonds / mutual funds

umber of Shares
$

Stock in

No. of shares $ Invested

Real Estate

Descr Location Market Value | Amount

 

Entered:05/07/19 11:56:00

Monthly

Maturity Date Histo

Est. Market
Value

Cost | Purchase Date

 

Page:2 of 3

 
Case:19-05002-MJK Doc#:7-1 Filed:05/07/19 Entered:05/07/19 11:56:00 Page:3 of 3

2. LIABILITIES - Details

Credit Card & Card Debt
Name of Card / Creditor Amount Due
255 $ 000
One $
r 700.00
§ i

 

otal

Notes

   

Name of Creditor Amount Interest Rate

/ Real Estate Loans Pa

of Creditor Amount }Payment Rate | {Leine)

 
